                        UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN - MILWAUKEE DIVISION

 JOHN DOE,

                        Plaintiff,

        v.                                                          Case No. 2:19-cv-00388-JPS

 MARIAN UNIVERSITY,

                        Defendant.


                   SECOND DECLARATION OF SABRINA JOHNSON


   NOW COMES Sabrina Johnson who certifies under penalty of perjury that the following is

true and correct to the best of her knowledge and recollection:

   1. I am an adult resident of the State of Wisconsin.

   2. I make this declaration on the basis of my personal knowledge of the facts set forth herein.

   3. I am the Director of Human Resources at Marian University.

   4. After I began my role in October 2018, I facilitated Plaintiff’s appeals for the investigation

into the allegations of sexual misconduct. All communication and information regarding the

procedure were run through me.

   5. In the Appeal Decision, issued to the Complainant and Plaintiff on December 7, 2018, the

appeals panel ordered that the investigation be re-opened, that a transcript of Plaintiff’s November

5, 2018, transcript be produced and reviewed by the parties, and that the investigators re-evaluate

the case with the additional information to determine whether the transcript affected the decision.

   6. I emailed the aforementioned decision to the parties. The parties were made aware that they

could review and respond to the November 5, 2018, transcript after it was produced.




          Case 2:19-cv-00388-JPS Filed 11/29/19 Page 1 of 2 Document 47
    7. On December 10, 2018, I emailed the parties to inform them that the November 5, 2018,

transcript had been produced. The parties were given just over 24 hours to respond to the transcript

if they desired.

    8. On December 11, 2018, I advised the parties that Kate Candee and Paul Krikau would

serve as investigators on the second investigation, and that the investigation into the sole issue on

remand would begin on December 12, 2018.

    9. Plaintiff provided a response to his November 5, 2018, interview on December 11, 2018.

    10. The Second Findings letter was submitted to the parties on December 13, 2018.



        Dated this 29th day of November, 2019.


                                                      /s/ Sabrina Johnson
                                                      Sabrina Johnson




                                                 2

          Case 2:19-cv-00388-JPS Filed 11/29/19 Page 2 of 2 Document 47
